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Luke Busby, Esq.
Nevada Bar No. 10319
316 California Ave. #82
Reno, Nevada 89509
(775) 453-0112
(775) 403-2192 (Fax)
luke@lukeandrewbusbyltd.com

Attorney for the Creditor
HERMAN MENEZES, LLC

                        UNITED STATES BANKRUPTCY COURT

                              DISTRICT OF NEVADA

                                        ***

  IN RE:
                                                  Adv. Case No: 22-05012-nmc
  ALVIN BRESCIANI,
                                                  Case No. 3:22-bk-50266

  Debtor.                                         Chapter 7

  HERMAN MENEZES, LLC                             Hearing Date: Dec. 15, 2022

                                                  Hearing Time: 9:30 AM
           Plaintiff,
                                                  AMENDED ADVERSARY
           Vs.                                    COMPLAINT OBJECTING
                                                  TO DISCHARGEABILITY OF
                                                  DEBT PURSUANT TO 11
  ALVIN BRESCIANI,
                                                  U.S.C. §523

           Defendant.


  _______________________________________/


TO THE COURT AND ALL PARTIES IN INTEREST:

     Herman Menezes LLC (“Plaintiff”), Plaintiff and Creditor of the

above-named Debtor, Alvin Bresciani (“Defendant”), hereby objects to the

dischargeability of the debt owed by the Defendant to the Plaintiff in the

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above-entitled bankruptcy case pursuant to 11 U.S.C. §523, and alleges as

follows:

                                       INTRODUCTION

     1.       This is an action to object to the dischargeability of a debt in the

chapter 7 bankruptcy case of Alvin Bresciani, case number 3:22-bk-50266,

pending in the U.S. Bankruptcy Court in the District of Nevada.

     2.       The debt owed to the Plaintiff by the Defendant is not dischargeable

pursuant to 11 U.S.C. §523 because the Defendant obtained the Plaintiff’s

money and property through false pretenses, false representations, and actual

fraud.

                                       JURISDICTION

     3.       This Court has jurisdiction of this adversary pursuant to 11 U.S.C.

§727.

     4.       This is a core proceeding under 28 U.S.C. § 157(b)(2)(J).

                                           VENUE

     5.       Venue is proper under 28 U.S.C. § 1409.

                                          PARTIES

     6.       Plaintiff Herman Menezes, LLC is, and was at all times relevant

herein, a limited liability company organized under the laws of the State of

Nevada, with a principal place of business in Storey County, Nevada.

     7.       Defendant Alvin Bresciani is an individual, who at all relevant times

herein, is and was resident of the City of Reno, Nevada.

                                 FACTUAL ALLEGATIONS

     A.       Defendant’s Bankruptcy Case

     8.       On May 16, 2022, Defendant filed a voluntary petition for relief under

chapter 7 of Title 11 of the United States Code, thereby initiating bankruptcy



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case number 3:22-bk-50266, in the U.S. Bankruptcy Court for the District of

Nevada.

     9.       In the Schedule F filed concurrently with the petition, Defendant

disclosed unsecured creditors holdings debts totaling $5,838,503.00, including:

     a.       Herman Menezes, LLC, Unpaid for Product, $330,600.00.

     10.      On January 28, 2022 the First Judicial District Court of the State of

Nevada issued an order of default judgment against Defendant for the plaintiff in

the amount of $330,570.65.

     11.      Based upon Defendant’s bankruptcy filings, Plaintiff now brings the

instant complaint to objection to the dischargeability of the debt owed by the

Defendant to the Plaintiff pursuant to 11 U.S.C. § 523.

     B.       Defendant’s Debt to Plaintiff

     i . The Jungo Ranch Fraud

     12.      On December 19, 2019, the Plaintiff and the Bresciani entered into a

contract for approximately 3,840 tons of Organic Alfalfa Hay to be produced by

Jungo Ranch for the 2019-2020 hay season to be sold to the Plaintiff (“the Jungo

Contract”).

     13.      The Jungo Contract was executed in Storey County, Nevada.

     14.      Also on December 19, 2020 Bresciani executed a promissory note in

favor of the Plaintiff in the amount of $620,000 to secure the Jungo Contract.

     15.      The Jungo Contract provided that in exchange for the Plaintiff

providing Bresciani with a $620,000 deposit, the Plaintiff would pay Bresciani

$10 per ton on 3840 tons of hay toward repayment of the deposit.

     16.      At the conclusion of the 2019-2020 Hay Season, Bresciani had only

provided Plaintiff sufficient hay to cover $492,601.35 of the $620,000 deposit,

under the Jungo Contract leaving a balance on the agreement of $127,398.65.



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     17.     Bresciani breached the Jungo Contract by failing to deliver enough

hay to cover the $620,000 deposit given to Bresciani by the Plaintiff.

     18.     Further, from July 14, 2020 to August 18, 2020, Bresciani removed

approximately 404 tons of hay from Jungo Ranch belonging to the Plaintiff and

delivered the Plaintiff’s hay to Bresciani’s other customers. Thus, included the

balance on the agreement of $127,398.65, Bresciani owes the Plaintiff is

$38,392.35, plus commission for the approximately 404 tons of hay from Jungo

Ranch belonging to the Plaintiff wrongfully and fraudulently taken by Bresciani.

     19.     Jungo Ranches, LLLP received the value paid by the Plaintiff to

Bresciani for the hay produced by Jungo Ranches, LLLP as described in the

Jungo Contract, but this hay was never delivered to the Plaintiff because

Bresciani fraudulently took the Plaintiff’s hay delivered the hay belonging to the

Plaintiff to his other customers.

     ii. The Taylor Farms Fraud

     20.    On August 5, 2020, Bresciani issued a check to the Plaintiff for the

amount of $67,160 as a deposit to cover the cost of the hay owned by the

Plaintiff to be removed from Taylor Farms by Bresciani. On August 5, 2020, the

Plaintiff received notice from Bank of America that Bresciani's check for $67,160

was returned due to insufficient funds to cover the check.

     21.    On August 7, 2020, the Plaintiff sent Bresciani a letter via certified

mail return receipt informing Bresciani that the check for $67,160 was returned

for insufficient funds. Further, Bresciani removed approximately $50,793 in hay

(221 Tons) from Taylor Farms in total, which Bresciani fraudulently obtained, and

still has not paid for. Thus the Plaintiff incurred actual damages of $50,793 as a

result of Bresciani passing a bad check.




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     22.    Bresciani made false representations to the Plaintiff that he had the

funds to pay for the hay from Taylor Farms, wrote a hot check to the Plaintiff

such that he could obtain permission to remove the hay from Taylor Farms, and

actually removed the hay from Taylor Farms based on this fraudulent claim to the

Plaintiff, and was removing hay from Taylor Farms before he had any permission

to do so from the Plaintiff.

     iii. Menezes Sues Bresciani for Fraud, and Bresciani fails to defend the

     suit

     23.    On January 4, 2021, the Plaintiff filed a Complaint against Mr.

Bresciani and Bresciani Hay Company, Inc. before the First Judicial District

Court in and for Storey County, and asserted the following claims: fraud, breach

of the implied covenant of good faith and fair dealing, a claim for passing a bad

check, for conversion, and for exemplary damages against Mr. Bresciani and his

company.

     24.    After Bresciani failed to follow multiple orders of the court related to

discovery, the Court struck Bresciani’s answer and rendered default judgment in

favor of the Plaintiffs in a December 23, 2021 Order.

     25.    On January 28, 2022, after a motion to which Brescinai did not

respond, the Nevada District Court issued an order awarding $330,570.65 in

damages plus prejudgment and post-judgment interest in the amount of 6.75%.

                                 FIRST CAUSE OF ACTION

                  (For a Determination That Defendant’s Debts Are

                Not Dischargeable Pursuant to 11 U.S.C. §523(a)(2)(A)

     26.    The Plaintiff incorporates by reference the allegations contained in

above, as though set forth fully herein;




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     27.    Bresciani made intentionally false representations to the Plaintiff in

order to obtain the Plaintiff’s money and property;

     28.    Bresciani knew at the time the representations were false;

     29.    Brescini made the representations with the intention and purpose of

deceiving and defrauding the Plaintiff;

     30.    The Plaintiff relied on the representations of Bresciani; and

     31.    The Plaintiff sustained damage as the proximate result of the

representations of Bresciani.

                                 PRAYER FOR RELIEF

     WHEREFOR, Herman Menezes, LLC prays for the entry of judgment

against the Defendant as follows:

     1.     That the Court determine that the debt of Defendant to the Plaintiff

be ruled nondischargeable because Defendant obtained the Plaintiff’s money

and property by fraud;

     2.     For an award of attorney’s fees as allowable by law in an amount the

Court determines to be reasonable;

     3.     For costs of suite herein incurred; and

     4.     For such other further relief as this Court deems just as proper.

            Respectfully submitted:

                      DATED this Sep 2, 2022

                                     By: /s/ Luke Busby, Esq.________
                                       LUKE A. BUSBY, ESQ.
                                       Nevada Bar No. 10319
                                       316 California Ave.
                                       Reno, Nevada 89509
                                       775-453-0112
                                       luke@lukeandrewbusbyltd.com




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                             CERTIFICATE OF SERVICE

      I certify that on the date shown below, I caused service to be completed of a

true and correct copy of the foregoing AMENDED ADVERSARY COMPLAINT by:

______ personally delivering;

______ delivery via Reno/Carson Messenger Service;

______ sending via Federal Express (or other overnight delivery service);

___x__ depositing for mailing in the U.S. mail, with sufficient postage affixed thereto;
     or,

       delivery via electronic means (fax, eflex, NEF, etc.) to:


     Alvin Bresiani
     6086 White Water Way
     Reno, NV 89523


     By: /s/ Luke Busby, Esq.___________              Sep 2, 2022
     LUKE A. BUSBY, ESQ.
     SBN 10319
     316 California Ave.
     Reno, NV 89509
     775-453-0112
     luke@lukeandrewbusbyltd.com
     Attorney for the Plaintiff




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